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       3.       Understanding these shortcomings, Mr. Zayas and I began to develop digital

taximeter and hailing technologies specifically for use, at least initially, in Mexico City. We

recruited and built a team that included senior managers formerly from companies like Uber and

Apple. We created and registered the “L1bre” tradename and associated trademarks for the

system. We also developed the overall technology and related software. In October 2015, we

incorporated an operating company in Mexico that we named Servicios Digitales Lusad, S. de

R.L. de C.V., and certain other affiliated companies (collectively, “Lusad”).

       4.       Mr. Zayas and I, through Lusad, then approached the Mexico City Secretariat of

Mobility (Secretaría de Movilidad, commonly referred to as “Semovi”) in order to explain and

promote the benefits of the system we were developing. The city’s representatives explained

that the technology was appropriate and necessary, but that Semovi would have to put such a

project out for public bid.

       5.       As such, in or around May 2016, Semovi published in the Mexico City Official

Gazette a declaration of need for the replacement, installation, and maintenance of the city’s taxi

fleet taximeters, to include a satellite geo-localization system, smart maps, centralized tracking,

safety and security features, announcements and publicity capabilities, including advertising, as

well as the ability for remote taxi hailing.

       6.       Eight companies, including Lusad, submitted bid packages. Lusad was, however,

the only bidder that—because of our extensive work in the field and product development—was

able to submit a bid that complied with all the bidding specifications and requirements that

Semovi mandated. Accordingly, on June 17, 2016, Semovi’s adjudication committee granted

Lusad the concession for the substitution, installation, and maintenance of new taximeters and

related application technology.




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       7.       In developing this winning technology, Espiritu Santo Holdings, LP (“ES

Holdings”) deployed US $40 million of its own capital, but more was needed. Rather than

continue to solely fund the enterprise, and with the concession in hand, we began to seek the

capital and financing necessary to finalize the technology, manufacture the taximeters, and

further develop the L1bre project. Eventually, we met with Ricardo Salinas and Fabio

Covarrubias, who both quickly came to also understand the value of the concession, as well as

the upside potential of this investment.

       8.       Mr. Zayas and I, on the one hand, and Mr. Salinas and Mr. Covarrubias on the

other, then negotiated the terms of the investment along with the overall structure of how the

business would be organized. In sum, we agreed that Mr. Salinas and Mr. Covarrubias, through

their companies, would acquire 50% of the business in exchange for US $5 million in cash, a US

$20 million intercompany loan, and Mr. Salinas gave his commitment to obtain a line of credit

for working capital from Mr. Salinas’ bank, Banco Azteca, of US $90 million.

       9.       Before the investment, ES Technologies, LLP (“ES Technologies”), through two

other entities—L1bre Holding and L1bre LLC (each 100% owned by ES Technologies)—was

the 100% indirect owner of Lusad and the concession, and ES Technologies was 100% owned by

ES Holdings. To effectuate the investment, we agreed to transfer 50% of the voting units of ES

Technologies to Mr. Salinas and Mr. Covarrubias to hold through their company, L1bero

Partners, LP (“L1bero Partners”). After the negotiations were finalized, on November 23, 2017,

we entered into a Unit Purchase Agreement.

       10.      In the Unit Purchase Agreement, we formally agreed both to the transfer of 50%

of ES Technologies to L1bero Partners, and to enter into a separate Partners Agreement that

would, among other provisions, amend the LLC agreement for ES Technologies and further




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define the parties’ rights, duties, and obligations. Much of this holding structure was complex,

but we understood that this was the most beneficial structure for tax and other legitimate

business purposes. Accordingly, as a result of the Unit Purchase Agreement, the following

ownership and ultimate control structure was created for the L1bre business:




       11.       Approximately two weeks after entering into the Unit Purchase Agreement, on

December 6, 2017, we executed the Partners Agreement. A true and accurate copy of the

Partners Agreement is attached as Exhibit 1. The Partners Agreement provides that its purpose is

“to govern the relation between [L1bero Partners and ES Holdings] as partners of [ES




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Technologies or the “Company”].” Again, ES Technologies was, through L1bre Holding and

L1bre LLC, the 100% indirect owner of the concessionaire, Lusad. Mr. Covarrubias was

appointed the Chief Executive Officer of ES Technologies, L1bre Holding, L1bre, and Lusad.

Mr. Zayas, Mr. Covarrubias, Mr. Salinas’ hand-picked representative, and I were also named to

the boards of directors of ES Technologies, L1bre Holding, and Lusad.

       12.     For about the next year, the partnership appeared to proceed well. As partners,

we invested over US $100,000,000 developing the software, purchasing the hardware, and

gearing up the instillation facilities to install the L1bre system into over 138,000 Mexico City

taxis. The concession allowed Lusad to install the taximeters in the entire existing Mexico City

taxi fleet and receive trip-based compensation as well as advertising and other revenue streams.

After the concession was awarded, a major investment bank conservatively valued the

concession, and therefore the business, as being worth over $2.4 billion until 2024 only, without

valuing: the remaining years of the ten-year concession; the fact that it includes at least one

renewal option for an additional ten-years; or the application of the business model to additional

cities around the world.

       13.        In December 2018, L1bre was invited to participate in a panel discussion at the

United Nations in New York regarding sustainable development in Latin America. I attended

and spoke on the company’s behalf. L1bre issued a press release about my appearance, which

described me as the “Chairman of the Board” and “a founder of L1bre,” and included a video

and photograph of my remarks. A true and accurate copy of that press release is attached as

Exhibit 2, and the video can be viewed at https://www.prnewswire.com/news-releases/l1bre--the-

guiding-principle-of-its-business-model-is-prioritizing-social-responsibility-300764704.html.




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       14.      Regrettably, however, rather than celebrating the company’s success, Mr. Salinas

and Mr. Covarrubias instead conspired first in self-dealing and then in fraudulently seizing the

entire business for themselves.

       15.      Mr. Zayas and I had initially appointed Manuel Tabuenca, a former high-level

employee at Uber, as Lusad’s Chief Financial Officer. Subsequently, Mr. Salinas and Mr.

Covarrubias appointed a different Chief Financial Officer, demoted Mr. Tabuenca to a day-to-

day operations function, and removed his full access to the company’s financial information. In

or around October 2018, Mr. Tabuenca informed Mr. Zayas and me that L1bero Partners’

representatives were unlawfully siphoning funds from the company’s bank accounts for non-

company related expenses. Indeed, Mr. Tabuenca provided an extensive list of wrongdoing at

the direction of and for the benefit of Mr. Salinas, Mr. Covarrubias, and/or their related

companies. Specifically, among other improprieties, we discovered the following:

            As Chief Executive Officer, Mr. Covarrubias staffed the company for
             his own benefit, not for the benefit of the company. Specifically, of a
             total of 37 employees, only 14 worked exclusively on Lusad’s
             operation, and the remaining 23 employees were hired by Mr.
             Covarrubias to work for his other businesses, including one named
             Inversiones COVA, S.A. de C.V. (“Inversiones COVA”), while being
             paid by Lusad. Notably, these employees included Mr. Covarrubias’
             son, brother in law, one of his close friends, and the wife of that friend.

            The very same day that Lusad received the US $10,000,000 to pay the
             Intercompany Loans for the operation of the concession, as provided
             in the Partners Agreement, Lusad (under the direction of Mr. Salinas
             and Mr. Covarrubias) wrongly transferred to Inversiones COVA (Mr.
             Covarrubias’ company) amounts totaling almost $8.7 million.

            Mr. Salinas and Mr. Covarrubias breached the non-compete provision
             in the Partners Agreement, pursuant to which L1bero Partners cannot
             intervene or participate directly or indirectly in “any activities similar
             to the ones performed by the Company and the Company’s Affiliates.”
             Only five months after the Partners Agreement was executed, Mr.
             Salinas and Mr. Covarrubias incorporated, through third parties, a
             separate company under the name of L1BRE Jalisco, and appointed


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         Mr. Covarrubias’ son (Diego Julio Covarrubias Trascierra) and Mr.
         Covarrubias’ lawyer (Francisco José Flores) as representatives of the
         company. Mr. Covarrubias then approached Jalisco’s government
         through that separate company to offer the L1bre system for Jalisco’s
         taxi fleet. Mr. Salinas and Mr. Covarrubias did the same in the
         Mexican city of Monterrey by offering the L1bre technology to that
         city for their own benefit and not Lusad’s benefit. Not only did they
         not consult with Mr. Zayas or me, but they actively concealed their
         involvement with both of these cities.

        Mr. Salinas and Mr. Covarrubias caused the improper transfer of
         significant company funds to purported vendors of Lusad, which in
         reality were owned or controlled by Mr. Salinas or Mr. Covarrubias
         and provided no or limited benefit to Lusad. Pursuant to Mr.
         Covarrubias’ instructions, Lusad paid over US $500,000 to a company
         named Cubeice Consultores de Negocios, S.C., which is owned
         through a series of intermediaries by Mr. Covarrubias’ son. Similarly,
         Mr. Covarrubias caused Lusad to pay over US $290,000 to a company
         named MOOK, S.A.P.I. de CV, which is also owned by Mr.
         Covarrubias’ son. In addition, Mr. Covarrubias instructed Lusad to
         pay US $34,000 to a Belgium company named Vistra Corporate
         Services, which then transferred the funds to Fama Properties Ltd., a
         company owned and controlled by Mr. Covarrubias.

        Mr. Salinas and Mr. Covarrubias caused US $2.7 million dollars to be
         paid to two companies named Kichink Servicios, S.A. de C.V. and N9
         Tecnología Mexico, S.A. de C.V. Kichink and N9 were ostensibly to
         provide services to Lusad; however, there was no contract and no
         benefit was provided in exchange for these funds.

        Mr. Salinas and Mr. Covarrubias caused Lusad to agree to pay almost
         US $1 million to a law firm named Villasante y Freyman, as payment
         for legal fees incurred for thirteen short amparo actions that would
         never cost close to that much by any legitimate local law firm.1

        Despite the 12-month “grace period” that the Partners Agreement
         required for repayment of the intercompany loans provided by L1bero
         Partners, Mr. Salinas and Mr. Covarrubias caused Lusad to
         immediately pay over US $2.2 million dollars back to Mr.
         Covarrubias’ companies.

        Despite that Lusad was a start-up company, Mr. Salinas and Mr.
         Covarrubias charged Lusad over US $200,000 to reimburse
         themselves for their private aircraft, which was neither necessary for

1
    An amparo action is a challenge to the validity or constitutionality of an act taken by the government.


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             the business nor appropriate. The fact that they allowed the
             respondents to permit these and the other improper payments was in
             my view a breach of the Partners Agreement and their fiduciary duty
             to ES Holdings.

            Mr. Salinas and Mr. Covarrubias purchased tablets for the concession
             through Inversiones Cova for US $11,832,000 and subsequently resold
             the tablets to Lusad at the inflated price of US $12,058,675, causing
             Lusad to pay an unnecessary and unjustified markup of over US
             $200,000.

            After siphoning funds from Lusad’s bank accounts and placing the
             company in financial jeopardy, Mr. Salinas offered to provide a loan
             under abusive terms, including a 67% interest rate and collateral to
             include all of ES Technologies, L1bre Holding, and L1bre LLC’s
             shares, as well as the concession rights, the IP rights over the
             technology, and any other asset held by ES Technologies or its 100%-
             owned downstream entities.

            Finally, Mr. Tabuenca reported to Mr. Zayas and me that he had
             uncovered evidence that Lusad was maintaining two sets of books, one
             including many of the improper transactions described above, and one
             making no reference to those improper transactions.

       16.      Upon receiving these reports, I met with Mr. Salinas, who claimed ignorance as to

these improprieties. Mr. Salinas suggested convening a meeting of the board of Lusad to agree

to hire an independent auditor to review the books and records of the company. Trusting Mr.

Salinas, I agreed to the suggestion. That board meeting took place on December 14, 2018, and

the board agreed to a formal audit of Lusad to be performed by Deloitte, a “big-four” accounting

firm. It was also agreed that L1bre Jalisco and L1bre Monterrey, entities secretly and wrongfully

formed by Mr. Salinas and Mr. Covarrubias to seek similar concessions in other Mexican cities,

would be formally brought into the L1bre partnership, so as to comply with the mandates and

non-competition provisions of the Partners Agreement. A true and accurate copy of the

December 14, 2018 Unanimous Resolutions of the Board of Managers of Lusad, as well as a

translation of the same, is attached as Exhibit 3.



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       17.      Shortly after this board decision, in late December 2018, Deloitte began its work.

However, Lusad’s employees, at the instruction of Mr. Covarrubias, refused to provide the

company’s books and records or assist with the audit in any way. Instead, Mr. Covarrubias’

representative and lawyer, Mr. Flores, abruptly advised Deloitte that the audit was “no longer a

priority.” Notwithstanding, one Lusad employee provided Deloitte two Lusad laptop computers

requested by Deloitte that contained the company’s financial information.

      18.       Upon learning that Deloitte had received the laptop that possibly contained the

company’s second set of books, Lusad, at the instruction of Mr. Covarrubias and his counsel,

took the extraordinary step of filing a criminal complaint in Mexico City alleging that Deloitte

stole the computers in a “robbery.”

       19.      This of course was an utter fabrication, done only to obstruct and prevent the

investigation into the self-dealing and other improper transactions by Mr. Salinas and Mr.

Covarrubias. Deloitte had no choice but to cease work on the audit. For his part, Mr. Zayas

truthfully reported to Mexican authorities that Deloitte had been authorized to review the

computers in the context of the audit that it was hired to perform by Lusad.

       20.      These events would become the pretextual basis for Mr. Salinas and Mr.

Covarrubias to seize full control of the business. Mr. Salinas and Mr. Covarrubias used Mr.

Zayas’ truthful report to the authorities to claim that he was complicit in the “robbery.” Thus,

they falsely claimed Mr. Zayas was not acting in the company’s interests. Mr. Salinas and Mr.

Covarrubias then undertook to remove both Mr. Zayas and me from the board of the company

(Lusad) that we had co-founded and created. Mr. Salinas and Mr. Covarrubias have now also

expanded the criminal proceedings to include me.




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       21.     After representatives of Mr. Salinas and Mr. Covarrubias falsely accused Deloitte

and Mr. Zayas of theft, Mr. Salinas and Mr. Covarrubias then caused Lusad to file a civil action

in Mexico against both Mr. Zayas and me. In that action, Lusad requested that the court declare

that we were liable for acting against the interests of the company, and to have us barred from

taking any action on behalf of the board of Lusad. A true and accurate copy of the relevant

portions of the Civil Complaint filed with the Superior Court of Justice of Mexico City, dated

February 20, 2019, as well as a translation of the same, is attached as Exhibit 4.

       22.     Based on the false information provided by Mr. Salinas and Mr. Covarrubias, on

February 21, 2019, a Mexican court issued an ex parte temporary injunction, ostensibly to

maintain the status quo. A true and accurate copy of the Order of the Superior Court of Justice

of Mexico City, dated February 21, 2019, as well as a translation of the same, is attached as

Exhibit 5. Instead of maintaining the status quo, however, the injunction barred Mr. Zayas and

me from making any decisions or otherwise acting on behalf of Lusad pending the trial and final

decision, which provided Mr. Salinas and Mr. Covarrubias sole control of the business, in

violation of the Partners Agreement.

       23.     On the very next day, February 22, 2019, Mr. Salinas and Mr. Covarrubias, on

behalf of Lusad, orchestrated a sham meeting of the shareholders of Lusad, L1bre Holding and

L1bre LLC. Although these companies were owned 100% by ES Technologies (and therefore

the two partners), Mr. Covarrubias, as CEO of both L1bre LLC and L1bre Holding, unilaterally

appointed the representatives who attended the shareholders meeting purporting to represent all

the shareholders, even though this appointment was made without the knowledge or approval of

the ES Holdings representatives on the board of L1bre Holding (i.e., Mr. Zayas and me). A true




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and accurate copy of the Carta Poder (Power of Attorney) executed by Mr. Covarrubias on

behalf of L1bre Holding, as well as a translation of the same, is attached as Exhibit 6.

       24.     At the sham shareholders meeting, Mr. Covarrubias’ hand-picked representatives

voted supposedly on behalf of all the shareholders to remove Mr. Zayas and me from the board

of Lusad. A true and accurate copy of the February 22, 2019, Shareholder Meeting Minutes, as

well as a translation of the same, is attached as Exhibit 7. This, again, was despite the fact that

the Partners Agreement required that the composition and structure of ES Technologies would be

“replicated in the other Company’s Affiliates” and that the concessionaire, Lusad, would always

be under the 50/50 joint control of the two partners.

       25.     Incredibly and again in breach of the Partners Agreement, I have been informed

that representatives of Mr. Salinas and Mr. Covarrubias are now also actively lobbying the

Mexico City government to cause the concession to be issued to another company under their

sole ownership and control. Of course, these actions are being taken without the consent or

agreement of ES Holdings and in violation of the Partners Agreement.

       26.     Further, Mr. Salinas and Mr. Covarrubias have unilaterally approved and allowed

ES Technologies to file a notice of controversy against Mexico pursuant to the North American

Free Trade Agreement (“NAFTA”) without approval of their 50/50 partner. Despite ES

Holdings’ repeated request for a copy of this NAFTA notice, L1bero Partners have refused to

provide ES Holdings a copy of this submission. Again, Mr. Salinas and Mr. Covarrubias should

not have allowed that decision to have been made without the joint approval of the partners.

       27.        Finally, the decision of Mr. Salinas and Mr. Covarrubias to use separate entities

to compete with the partnership is poised to cause ES Holdings further imminent harm. Earlier

this month, the state agency responsible for the operation of taxis in the city of Monterrey and




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the Mexican State of Nuevo León announced that public bidding for that city and state’s

taximeter concession would open on May 2, 2019, and close on May 15, 2019. A true and

accurate copy of the public bidding announcement from the Transportation Agency of the State

of Nuevo León, Mexico, as well as a translation of the same, is attached as Exhibit 8. I have

been informed that L1bre Monterrey, an entity that Mr. Salinas and Mr. Covarrubias agreed to

bring into the L1bre family of companies (as required by the Partners Agreement) but failed to

do, intends to bid on that concession. Indeed, the requirements for the Monterrey concession are

designed to be met by a company with Lusad’s technology and capabilities. However, because

L1bre Monterrey is armed with the innovative taximeter technology and know-how that Mr.

Zayas and I created—trade secrets that are the property of the partnership—I fully expect that,

unless restrained, L1bre Monterrey (a company formed by Mr. Salinas and Mr. Covarrubias and

which they indirectly own) will win that concession. This would amount to a gross violation of

the Partners Agreement, stripping the partnership of its intellectual property and valuable rights,

and ES Holdings of its rightful 50% interest in such a concession.

       28.     In summary, Mr. Salinas and Mr. Covarrubias are in open and willful breach of

the Partners Agreement, and are ignoring the obligations assumed therein, including the mandate

that any and all partnership disputes be resolved in arbitration. Any demand for ES

Technologies to bring claims against L1bero Partners would be futile given the circumstances

described above. Instead, Mr. Salinas and Mr. Covarrubias have wrongfully acted through

contrived Mexican court actions and fraudulent corporate acts to seize absolute control of Lusad,

which also has allowed them to steal ES Technologies’ most valuable assets. ES Holdings is

suffering irreparable harm, and it will continue to suffer irreparable harm, unless the Court acts

to protect ES Holdings’ interests in ES Technologies and its 100%-owned downstream entities




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